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                                                                [PUBLISH]
                                      In the
                 United States Court of Appeals
                          For the Eleventh Circuit

                            ____________________

                                   No. 22-10811
                            ____________________

        ECB USA, INC.,
        a Florida Corporation,
        ATLANTIC VENTURES CORP.,
        a Florida Corporation,
        G.I.E. C2B,
        a French business entity, as assignees
        of Constantin Associations LLP,
        a New York limited liability partnership,
        CONSTANTIN ASSOCIATES LLP,
                                                        Plaintiﬀs-Counter
                                                    Defendants-Appellants,
        versus
        CHUBB INSURANCE COMPANY OF
        NEW JERSEY,
        a New Jersey insurance company
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        corporation,
        EXECUTIVE RISK INDEMNITY, INC.,
        a Delaware Insurance corporation,


                                                     Defendants-Counter
                                                     Claimants-Appellees.


                            ____________________

                  Appeal from the United States District Court
                      for the Southern District of Florida
                     D.C. Docket No. 1:20-cv-20569-RNS
                           ____________________

        Before JORDAN, BRASHER, and ABUDU, Circuit Judges.
        BRASHER, Circuit Judge:
              We grant the petition for rehearing in part, withdraw our
        previous opinion, and replace it with the following.
                This case comes down to grammar and canons of construc-
        tion. Chubb issued an insurance policy that covers claims against
        Constantin arising from “services directed toward expertise in
        banking finance, accounting, risk and systems analysis, design and
        implementation, asset recovery and strategy planning for financial
        institutions.” Constantin performed an audit for a food services
        company; the audit went wrong and led to liability. Constantin
        transferred its rights under the policy to the ECB parties. The
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        question for us is whether “for financial institutions” limits “ac-
        counting” such that there is no coverage under the policy for the
        audit of a food services company.
                Chubb and its related parties argue that the phrase “for fi-
        nancial institutions” applies to everything in the list; ECB and its
        related parties argue that “for financial institutions” applies only to
        the last phrase in the series of covered services. We agree with
        Chubb. The series-qualifier canon of interpretation suggests that a
        postpositive modifier like “for financial institutions” modifies all
        the terms in a list of parallel items. Chubb’s position is also sup-
        ported by the surrounding language of the policy. Although ECB
        argues that the last-antecedent canon and contra proferentem sup-
        port its position, those canons are inapposite. Because the account-
        ing at issue was not performed for a financial institution, the claim
        is not covered by the professional services insurance contract that
        Chubb issued. Therefore, we affirm the district court’s grant of
        summary judgment to Chubb.
                                          I.

               Constantin is a sophisticated commercial entity that pro-
        vides accounting services. In 2001, Constantin Control Associates
        LP acquired professional services insurance from Executive Risk
        Indemnity, Inc. (“ERI”), a subsidiary of Chubb Limited—the ulti-
        mate parent company. Constantin’s application for insurance cov-
        erage stated that it wanted insurance for “management consulting
        for the financial community.” Dist. Ct. Doc. 155-17 at 2. Constan-
        tin received professional liability insurance, which it renewed with
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        ERI over the years. The last policy period with ERI ended in De-
        cember 2017. In December 2017, Constantin renewed the policy
        for the 2017–18 policy period with Chubb Insurance Company of
        New Jersey, another subsidiary of Chubb Limited.
                For the relevant contract years of 2016–17 and 2017–18,
        Constantin’s contract included Constantin Associates LLP as an in-
        sured party either by express incorporation or through definitions
        involving their corporate relationship. Also in both years, Constan-
        tin’s “Professional Services” liability insurance covered services
        Constantin performed for others for a fee that were listed in a spe-
        cific cross-referenced list. The relevant cross-reference in the insur-
        ance policies insured Wrongful Acts—which the contracts define—
        in the performance of (1) “Computer Consulting including com-
        puter system architecture and design”; (2) “Temporary Placement
        Agency Services”; and, critically, (3) “Management consulting ser-
        vices.” Dist. Ct. Doc. 155-16 at 6 (2016–17 Policy); Dist. Ct.
        Doc. 155-37 at 23 (2017–18 Policy).
               The contracts defined “[m]anagement consulting services
        [to] mean[] services directed toward expertise in banking finance,
        accounting, risk and systems analysis, design and implementation,
        asset recovery and strategy planning for financial institutions.”
        Dist. Ct. Doc. 155-16 at 6; Dist. Ct. Doc. 155-37 at 23.
               Constantin performed an audit for Schratter Foods Incorpo-
        rated. Schratter was a food company, not a financial institution; so
        the parties do not dispute that Constantin’s provision of accounting
        services was not to a “financial institution.” The audit allegedly did
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        not go well. After the audit, the ECB parties—the plaintiffs here—
        sued Constantin for alleged wrongdoing in the professional audit
        of Schratter’s financial statements in connection with the ECB par-
        ties’ acquisition of Schratter. Constantin settled and assigned its
        rights against ERI and Chubb Insurance Company of New Jersey
        to the ECB parties.
                In this case, the ECB parties sued to enforce Constantin’s as-
        signed contractual rights to the insurance contract, alleging a
        breach of contract based on a duty to defend or indemnify in the
        earlier, settled lawsuit. After arguing that New Jersey law applies,
        ECB argued in its summary judgment briefing that “for financial
        institutions” did not apply to “accounting” because of the absence
        of a comma before “for financial institutions.” This was explicitly
        an argument about how Chubb did not win under the series-qual-
        ifier canon.

                Applying New Jersey law, the district court granted the
        Chubb parties summary judgment in an omnibus order. The dis-
        trict court decided that—contrary to Chubb’s argument—the au-
        diting of financial statements was a “service[] directed toward ex-
        pertise in . . . accounting.” This meant that auditing could be a type
        of covered activity under the professional services insurance con-
        tract. But the district court decided that Chubb nonetheless won at
        the summary judgment stage because the accounting services must
        be for a financial institution to be covered by the insurance con-
        tract. The district court also granted reformation of the 2017–18
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        contract to ECB so that it included Constantin as a named insured,
        among other decisions not challenged on appeal.

               The Chubb parties moved to amend the order, and the ECB
        parties requested reconsideration. At reconsideration, ECB raised
        the last-antecedent and contra proferentem canons for the first time,
        albeit without calling it the contra proferentem canon.
               The district court granted the Chubb parties’ motion to
        amend the order but denied the ECB parties’ motion for reconsid-
        eration, stating that ECB’s new canon arguments had been waived
        by not being made before the motion for reconsideration and that,
        alternatively, they did not convince the district court that reconsid-
        eration was warranted. The district court then entered an amended
        omnibus order on February 25, 2022, clarifying the judgment of
        reformation in favor of the ECB parties. Chubb does not challenge
        the reformation here, and the summary judgment decisions on ap-
        peal did not change in the amended omnibus order. The district
        court then entered its judgment.
              The ECB parties appealed.
                                         II.

               Before we can assess the merits, we must resolve two pre-
        liminary issues: our standard of review and the district court’s sub-
        ject matter jurisdiction. We conclude that our review is de novo and
        that the district court had diversity jurisdiction over this dispute.
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                                          A.

               We analyze de novo all the issues in this appeal. See Sweet Pea
        Marine, Ltd. v. APJ Marine, Inc., 411 F.3d 1242, 1247 (11th Cir. 2005)
        (diversity jurisdiction); Showan v. Pressdee, 922 F.3d 1211, 1223 (11th
        Cir. 2019) (state law legal questions); Yusko v. NCL (Bahamas), Ltd.,
        4 F.4th 1164, 1167 (11th Cir. 2021) (summary judgment). Chubb
        argues that we should apply an abuse of discretion standard on two
        points, but we disagree.
               First, we do not defer to the district court’s conclusion that
        ECB purportedly waived its New Jersey law arguments when we
        are assessing waiver for appellate purposes. Although we review
        for an abuse of discretion a district court’s determination that a
        party waived an affirmative defense by not making it at the appro-
        priate time or waived apportionment of damages by making an in-
        consistent argument, whether a party has waived an issue for pur-
        poses of appeal is a matter that we must assess de novo. Compare
        Proctor v. Fluor Enters., Inc., 494 F.3d 1337, 1350 n.9 (11th Cir. 2007)
        (affirmative defense), Smith v. R.J. Reynolds Tobacco Co., 880 F.3d
        1272, 1280–82 (11th Cir. 2018) (apportionment of damages), and
        Searcy v. R.J. Reynolds Tobacco Co., 902 F.3d 1342, 1359 (11th Cir.
        2018) (apportionment of damages), with United States v. Riggs, 967
        F.2d 561, 564–65 (11th Cir. 1992) (analyzing appellate waiver our-
        selves when the party failed to make an argument in the district
        court), and Am. Builders Ins. Co. v. Southern-Owners Ins. Co., 71 F.4th
        847, 856 n.1 (11th Cir. 2023) (same).
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               Second, the district court’s denial of ECB’s motion for recon-
        sideration does not change the standard of review we apply to its
        decision to grant summary judgment. When we review a disposi-
        tion after a denial of a motion for reconsideration, we review the
        original disposition itself under whatever standard of review we
        would normally use. See Blackburn v. Shire US Inc., 18 F.4th 1310,
        1317 (11th Cir. 2021) (using an abuse of discretion standard when
        reviewing a denial of leave to amend under Federal Rule of Civil
        Procedure 15(a)(2) because that is the Rule 15(a)(2) standard, with-
        out regard to the denial of the motion for reconsideration). To re-
        verse a judgment, an appellant needs to establish an error in the
        judgment, not an error in the judgment plus an error in the district
        court’s denial of a motion to reconsider that judgment. Here, we
        address the challenged summary judgment order without regard
        to the unchallenged denial of the motion for reconsideration. See
        Gulisano v. Burlington, Inc., 34 F.4th 935, 941–45 (11th Cir. 2022) (af-
        firming an initial sanctions order despite separately deeming aban-
        doned a challenge to the subsequent denial of a motion for recon-
        sideration of that sanctions order).
                                          B.

               We have appellate jurisdiction over the district court’s final
        judgment under 28 U.S.C. § 1291. But before addressing the merits,
        we must first satisfy ourselves that the district court had subject
        matter jurisdiction. We raised this issue sua sponte, the parties
        briefed the issue, and, ultimately, the plaintiffs amended the
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        complaint. The parties argue that the district court had diversity
        jurisdiction under 28 U.S.C. § 1332(a). We agree.
                For diversity jurisdiction, the citizenship of all parties must
        be completely diverse, and the amount in controversy must exceed
        $75,000. See Underwriters at Lloyd’s, London v. Osting-Schwinn, 613
        F.3d 1079, 1085 (11th Cir. 2010) (citing Strawbridge v. Curtiss, 7 U.S.
        (3 Cranch) 267, 267 (1806); Palmer v. Hosp. Auth. of Randolph Cnty.,
        22 F.3d 1559, 1564 (11th Cir. 1994); Tardan v. Cal. Oil Co., 323 F.2d
        717, 721–22 (5th Cir. 1963); 28 U.S.C. § 1332(a)). There is no mean-
        ingful question that the matter in controversy is over $75,000. But
        the face of the pleadings originally did not disclose the citizenship
        of all the parties.
               A corporation is a citizen of its state or foreign country of
        incorporation and principal place of business. See 28 U.S.C.
        § 1332(c)(1). But we determine diversity jurisdiction for partner-
        ships and nearly all other non-corporate entities based on the mem-
        bers’ citizenships. Underwriters at Lloyd’s, London, 613 F.3d at 1086
        (citing Puerto Rico v. Russell & Co., 288 U.S. 476, 480 (1933)); see also
        Schiavone Constr. Co. v. City of New York, 99 F.3d 546, 548 (2d Cir.
        1996) (joint ventures); Rolling Greens MHP, L.P. v. Comcast SCH Hold-
        ings L.L.C., 374 F.3d 1020, 1022 (11th Cir. 2004) (LLCs).
               We begin with the plaintiffs. Atlantic Ventures Corp. and
        ECB USA, Inc. are Florida corporations with their principal places
        of business in Florida. G.I.E. C2B (“C2B”) is a Groupement d’Inte-
        ret Economique under French law, which resembles a joint ven-
        ture (a type of partnership). See Union Carbide Corp. v. Exxon Corp.,
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        77 F.3d 677, 679 (2d Cir. 1996); Phillips v. Kaplus, 764 F.2d 807, 810
        (11th Cir. 1985) (“joint venture partnership”). C2B has twenty-nine
        shareholders: three are Florida corporations with their principal
        places of business in Florida, nineteen are French corporations with
        their principal places of business in France, and seven are French
        LLCs (which are entirely made up of French citizen individuals or
        French corporations with a principal place of business in France).
        In sum, C2B’s members are citizens of France and Florida. Thus,
        the plaintiffs are citizens of France and Florida.       1




                Defendant Chubb Insurance Company of New Jersey is a
        New Jersey corporation with its principal place of business in New
        Jersey, so it is a citizen of New Jersey. Defendant ERI is a Delaware
        corporation with its principal place of business in New Jersey, so it
        is a citizen of Delaware and New Jersey. Thus, the defendants are
        citizens of New Jersey and Delaware.
                Because the plaintiffs are citizens of France and Florida, and
        the defendants are citizens of Delaware and New Jersey, there is
        complete diversity. Therefore, we agree with the parties that the
        district court had diversity jurisdiction under 28 U.S.C. § 1332(a).



        1 Constantin Associates, LLP was substituted and eliminated as a party to the
        Fourth Amended Complaint under Federal Rule of Civil Procedure 17(a)(3).
        We construe the Fifth Amended Complaint—amended at our order—to con-
        tain the same party substitutions. Rule 17(a)(3) provides that “[a]fter . . . sub-
        stitution, the action proceeds as if it had been originally commenced by the
        real party in interest.” Fed. R. Civ. P. 17(a)(3). Therefore, we ignore Constan-
        tin’s citizenship in our complete diversity analysis.
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                                          III.

               Having resolved the standard of review and jurisdiction, we
        now turn to the merits. Chubb insured Constantin against liability
        arising from “services directed toward expertise in banking finance,
        accounting, risk and systems analysis, design and implementation,
        asset recovery and strategy planning for financial institutions.”
        Constantin performed an allegedly negligent audit for a food ser-
        vice company—not a financial institution. Whether the policy pro-
        vides coverage turns on whether the phrase “for financial institu-
        tions” modifies “accounting.”
               The parties agree that New Jersey law governs our interpre-
        tation of the policy, but there is nothing unusual or idiosyncratic
        about New Jersey law as it pertains to principles of contract inter-
        pretation. Like most state courts, the Supreme Court of New Jersey
        has held that “[i]n attempting to discern the meaning of a provision
        in an insurance contract, the plain language is ordinarily the most
        direct route.” Chubb Custom Ins. Co. v. Prudential Ins. Co. of Am., 948
        A.2d 1285, 1289 (N.J. 2008) (citing Zacarias v. Allstate Ins. Co., 775
        A.2d 1262, 1264 (N.J. 2001)). “If the language is clear, that is the end
        of the inquiry. Indeed, in the absence of an ambiguity, a court
        should not ‘engage in a strained construction to support the impo-
        sition of liability’ or write a better policy for the insured than the
        one purchased.” Id. (citation omitted) (quoting Progressive Cas. Ins.
        Co. v. Hurley, 765 A.2d 195, 202 (N.J. 2001)).
              The New Jersey courts have also recognized that linguistic
        canons of construction may help a court determine the plain
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        meaning of a text. See, e.g., Gudgeon v. Ocean Cnty., 342 A.2d 553,
        555 (N.J. Super. Ct. App. Div. 1975) (describing grammar analysis
        using the syntactic canons as merely “consideration of principles of
        grammatical construction”). The Supreme Court of New Jersey
        has long applied the last-antecedent canon as it is commonly un-
        derstood. See State v. Gelman, 950 A.2d 879, 884 (N.J. 2008) (“[T]he
        doctrine of the last antecedent . . . holds that, unless a contrary in-
        tention otherwise appears, a qualifying phrase within a statute re-
        fers to the last antecedent phrase.” (citing 2A Norman J. Singer &
        Shambie Singer, Sutherland Statutes and Statutory Construction
        § 47.33 (7th ed. 2007))). And recently, the Supreme Court of New
        Jersey recognized that the series-qualifier canon applies “when
        there is a modifying word or phrase that appears at the beginning
        [or end] of an uninterrupted list.” See In re Proposed Constr. of Com-
        pressor Station (CS327), No. 088744, --- A.3d ----, 2024 WL 3659132,
        at *9 (N.J. Aug. 6, 2024) (citing Lockhart v. United States, 577 U.S.
        347, 364 (2016) (Kagan, J., dissenting) (quoting Antonin Scalia &
        Brian A. Garner, Reading Law: The Interpretation of Legal Texts 147
        (2012))).
               Finally, New Jersey courts recognize contra proferentem. This
        substantive canon provides that courts should read an ambiguous
        contract to have the meaning that favors the non-drafting party,
        which is generally the insured party with an insurance contract. See
        Oxford Realty Grp. Cedar v. Travelers Excess & Surplus Lines Co., 160
        A.3d 1263, 1270 (N.J. 2017) (“Ordinarily, our courts construe insur-
        ance contract ambiguities in favor of the insured via the doctrine
        of contra proferentem.” (citing Progressive Cas. Ins. Co., 765 A.2d at
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        201–02)). Effectively, contra proferentem gives weight to one party’s
        interpretation if there is a true ambiguity.
               Chubb argues that ECB cannot rely on the last-antecedent
        or contra proferentem canons on appeal because it first raised these
        canons in its motion for reconsideration under Federal Rule of Civil
        Procedure 59—which the district court denied in part because the
        canons had not previously been raised—and because ECB did not
        challenge the district court’s denial of its motion for reconsidera-
        tion on appeal. We disagree. As we have already explained, we are
        reviewing the district court’s earlier summary judgment decision,
        not its decision on ECB’s motion for reconsideration. In denying
        ECB’s motion for reconsideration, the district court properly noted
        that a Rule 59 motion is usually not a proper vehicle to raise new
        arguments that could have been raised prior to the entry of judg-
        ment. See Michael Linet, Inc. v. Village of Wellington, 408 F.3d 757, 763
        (11th Cir. 2005). But the district court’s ruling on ECB’s Rule 59
        motion does not control what arguments ECB may make on ap-
        peal.
               For purposes of appeal, ECB may raise the canons to support
        its construction of the policy. Litigants can waive or forfeit posi-
        tions or issues through their litigation conduct in the district court
        but not authorities or arguments. See Nelson v. Adams USA, Inc., 529
        U.S. 460, 469–70 (2000); Yee v. City of Escondido, 503 U.S. 519, 534
        (1992); Hi-Tech Pharms., Inc. v. HBS Int’l Corp., 910 F.3d 1186, 1194
        (11th Cir. 2018); Black v. Wigington, 811 F.3d 1259, 1268 (11th Cir.
        2016). So a party cannot usually argue that a legal text should be
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        read to mean something different on appeal than what it argued for
        below (a new position) or raise a new legal ground as the reason it
        should win (a new issue). But a party on appeal can always cite a
        new authority—such as the canons of construction—in favor of
        reading a legal text to mean what the party advocated for below.
        Here, of course, ECB has consistently argued that the policy lan-
        guage covers “accounting” consulting for businesses in any indus-
        try, notwithstanding the phrase “for financial institutions.” The
        canons merely provide additional authority to support that posi-
        tion.
                Although our caselaw has sometimes muddied the line be-
        tween an issue (which can be waived or forfeited) and an argument
        (which cannot be), we are nowhere close to the line here. A party
        may always rely on a canon of construction to support the same
        interpretation of a legal document that the party advanced in the
        district court. A party can no more waive or forfeit the canons for
        appellate purposes than it can waive or forfeit the existence of a
        precedent or the words of a statute. See United States v. Dawson, 64
        F.4th 1227, 1239 (11th Cir. 2023) (“Indeed, a party cannot waive
        lenity any more than it can waive the plain meaning of a word or
        the canon of noscitur a sociis.”). So even if ECB missed its chance to
        cite these canons to the district court, ECB did not waive or forfeit
        anything for purposes of appeal.
              Against this backdrop, ECB argues that the policy covers all
        accounting services, and Chubb argues that the policy covers only
        accounting services for financial institutions. Chubb contends that
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        its position is supported by the series-qualifier canon and the sur-
        rounding language in the agreement. ECB says that its position is
        supported by the last-antecedent canon. To the extent the language
        is ambiguous, ECB says that the principle of contra proferentem
        means we must resolve any ambiguities in its favor. We think
        Chubb has the better argument in all respects.
                                            A.

                We’ll start with the plain language of the agreement. The
        object in contract interpretation is to identify the intent of the par-
        ties, and the best evidence of the intent is the language of the agree-
        ment itself. “The canons of construction often ‘play a prominent
        role’ in [interpreting a text] . . . , serving as ‘useful tools’ to discern
        th[e] ordinary meaning.” Heyman v. Cooper, 31 F.4th 1315, 1319
        (11th Cir. 2022) (quoting Facebook, Inc. v. Duguid, 592 U.S. 395, 410
        (2021) (Alito, J., concurring in the judgment)). The parties here rely
        extensively—almost exclusively—on canons of interpretation as
        evidence of plain meaning. So that is where we will turn.
                                            1.

              When a “provision includes a list of nouns followed by a
        modifier,” the parties usually invoke two canons: the last-anteced-
        ent canon and the series-qualifier canon. Id. And that is what
        Chubb and ECB have done here.
               The rule of the last antecedent in its purest form provides
        that “[a] pronoun, relative pronoun, or demonstrative adjective
        generally refers to the nearest reasonable antecedent.” Scalia &
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        Garner, supra, at 144. In grammar, an “antecedent” is “a substantive
        word, phrase, or clause whose denotation is referred to by a pro-
        noun that typically follows the substantive [word] (such as John in
        ‘Mary saw John and called to him’).” Antecedent, Merriam-Webster,
        https://perma.cc/4896-M68J. “The last antecedent is the last
        word, phrase, or clause that can be made an antecedent without
        impairing the meaning of the sentence.” Kamienski v. State, Dep’t of
        Treasury, 169 A.3d 493, 505 n.11 (N.J. Super. Ct. App. Div. 2017)
        (internal quotation marks omitted) (quoting 2A Norman J. Singer
        & Shambie Singer, Sutherland Statutes and Statutory Construction
        § 47.33 (7th ed., rev. 2014)). Unsurprisingly, ECB urges us to follow
        that canon here, treating “asset recovery and strategy planning” as
        the last antecedent—in a loose sense—of “for financial institu-
        tions.”
                The series-qualifier canon, on the other hand, provides that,
        “[w]hen there is a straightforward, parallel construction that in-
        volves all nouns or verbs in a series, a prepositive or postpositive
        modifier normally applies to the entire series.” Scalia & Garner, su-
        pra, at 147. It reflects the unremarkable convention that “[w]hen
        several words are followed by a clause [that] [] is applicable as much
        to the first and other words as to the last, the natural construction
        of the language demands that the clause be read as applicable to
        all.” Paroline v. United States, 572 U.S. 434, 447 (2014) (quoting Porto
        Rico Ry., Light & Power Co. v. Mor, 253 U.S. 345, 348 (1920)). Unsur-
        prisingly, Chubb urges us to apply the series-qualifier canon—treat-
        ing “for financial institutions” as an adjective phrase that applies to
        each preceding noun in the series, including “accounting.”
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               These two canons are sometimes referred to as “competing”
        because they can both apply to words and phrases that come at the
        end of a sentence. See Heyman, 31 F.4th at 1319. But they are more
        accurately viewed as solving for different problems.
                The series-qualifier canon helps us understand the meaning
        of items in a list with a parallel construction that are modified by
        an adjective, adverb, or qualifying phrase. The paradigmatic case
        for the series-qualifier canon is “[a] state statute allow[ing] medical
        professionals access to certain hospital records if they [are] ‘request-
        ing or seeking through discovery data, information, or records re-
        lating to their medical staff privileges.” Scalia & Garner, supra, at
        149 (citing Amaral v. Saint Cloud Hosp., 598 N.W.2d 379 (Minn.
        1999)). There are two ways to read “through discovery” in this stat-
        ute. It either modifies both requesting and seeking or only seeking.
        The leading treatise on the canons—Scalia and Garner—explains
        that the Minnesota Supreme Court correctly determined that
        “through discovery” modifies both terms. See id. at 150 (citing Am-
        aral, 598 N.W.2d at 388).
               The last-antecedent canon, on the other hand, is generally
        used to help us understand to what a pronoun, relative pronoun,
        or demonstrative adjective is referring. These are all words or
        phrases that act as shorthand or substitutes for something else—
        such as “she,” “that kind of activity,” or “such person.” See Pronoun,
        Merriam-Webster, https://perma.cc/AW4D-5692; Scalia & Gar-
        ner, supra, at 145 (relative pronouns); Demonstrative Adjectives, The
        Mayfield Handbook of Technical & Scientific Writing,
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        https://perma.cc/TR99-XBHH. The paradigmatic example of this
        canon is in Article II of the U.S. Constitution. It states that “In Case
        of the Removal of the President from Office, or of his Death, Res-
        ignation or Inability to discharge the Powers and Duties of the said
        Office, the Same shall devolve on the Vice President.” U.S. Const.
        art. II, § 1, cl. 6, amended by U.S. Const. amend. XXV. What is “the
        Same” that devolves onto the Vice President: “the Powers and Du-
        ties” of the President or the “Office” of President? The last-anteced-
        ent canon resolves this issue in favor of office being the nearest rea-
        sonable antecedent of same. See Scalia and Garner, supra, at 144.
               To be clear, courts have gone further and applied the last-
        antecedent canon to other parts of speech when the text and con-
        text reinforce that reading. That is, some have recognized that, in
        addition to pronouns and the like, “[r]eferential and qualifying
        words and phrases, where no contrary intention appears, refer
        solely to the last antecedent.” 2A Norman J. Singer & Shambie
        Singer, Sutherland Statutes and Statutory Construction § 47.33 (7th ed.
        2007) (collecting cases); see also, e.g., Lockhart, 577 U.S. at 350–52;
        Morella v. Grand Union/N.J. Self-Insurers Guar. Ass’n, 917 A.2d 826,
        831 (N.J. Super. Ct. App. Div. 2007), aff’d sub nom. Morella v. Grand
        Union Co./N.J. Self-Insurers Guar. Ass’n, 939 A.2d 226 (N.J. 2008).
        When applying this canon beyond pronouns and related words, “it
        is more accurate . . . to call it the nearest-reasonable-referent
        canon” because, “[s]trictly speaking, only pronouns have anteced-
        ents.” Scalia & Ganer, supra, at 152 (emphasis omitted); see also Ray
        v. McCullough Payne & Haan, LLC, 838 F.3d 1107, 1111 (11th Cir.
        2016). But the result is the same: this principle suggests that
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        “adjectives, adverbs, and adverbial or adjectival phrases” normally
        modify the closest reasonable noun or verb, “and it applies not just
        to words that precede the modifier, but also to words that follow
        it.” Scalia & Garner, supra, at 152. But that presumption does not
        apply when the nouns or verbs are in a parallel series. See id.
        (“When the syntax involves something other than a parallel series of
        nouns or verbs, a prepositive or postpositive modifier normally ap-
        plies only to the nearest reasonable referent.” (emphasis added)).
               Of course, all these canons—including the last-antecedent
        and nearest-reasonable-referent canons—can be defeated by other
        indicia of meaning because they are just one tool of textual analysis.
        See Lockhart, 577 U.S. at 352 (“Of course, as with any canon of stat-
        utory interpretation, the rule of the last antecedent ‘is not an abso-
        lute and can assuredly be overcome by other indicia of meaning.’”
        (quoting Barnhart v. Thomas, 540 U.S. 20, 26 (2003))); Gelman, 950
        A.2d at 884 (“[U]nless a contrary intention otherwise appears, a quali-
        fying phrase within a statute refers to the last antecedent phrase.”
        (emphasis added)). Indeed, we have explained that “the canons are
        not rules of interpretation in any strict sense.” Heyman, 31 F.4th at
        1319 (internal quotation marks omitted) (quoting Scalia & Garner,
        supra, at 51). They are just rules of thumb that reflect common
        grammatical presumptions. See id.
                                          2.

               Having explained the applicable canons, we turn to the meat
        of the parties’ dispute: Does “for financial institutions” modify “ac-
        counting” in the phrase “services directed toward expertise in
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        banking finance, accounting, risk and systems analysis, design and
        implementation, asset recovery and strategy planning for financial
        institutions”? ECB argues that we should apply the last-antecedent
        canon (or, more accurately, the nearest-reasonable-referent canon)
        and hold that “for financial institutions” modifies only “asset recov-
        ery and strategy planning.” Chubb argues that we should apply the
        series-qualifier canon and construe “for financial institutions” to
        modify all the items in the list, including “accounting.”
                 We believe that, as between the parties’ two ways of under-
        standing the text, the better reading is provided by the series-qual-
        ifier canon. The key to understanding any text—and to intelligently
        applying the canons—is “logic, linguistics, and common sense.” Id.
        at 1322. Considering this phrase in context, the best reading of the
        policy language is that it covers “services directed toward expertise
        in . . . accounting . . . for financial institutions.”
              We believe this understanding is better for three reasons.
               First, the relevant phrase here involves none of the parts of
        speech to which the last-antecedent canon is most clearly useful.
        The phrase “for financial institutions” isn’t standing in for another
        phrase. It’s not a pronoun like “she” or “it,” a relative pronoun like
        “that” in certain sentences, or a demonstrative adjective like “such”
        or “these.” The canons are useful because they reflect “presump-
        tions about what an intelligently produced text conveys.” Id. at
        1319 (quoting Scalia & Garner, supra, at 51). But we are outside the
        heartland of the last-antecedent canon’s most fundamental
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        presumption—that a pronoun or other stand-in refers back to the
        closest noun.
                Of course, the last-antecedent principle goes beyond pro-
        nouns, but even this more robust version of the principle as re-
        flected in the nearest-reasonable-referent canon doesn’t do much
        work here. The closest referent to “for financial institutions” in the
        contract is “strategy planning”—“banking finance, accounting, risk
        and systems analysis, design and implementation, asset recovery
        and strategy planning for financial institutions.” But ECB concedes
        that, at the very least, the phrase “for financial institutions” applies
        to “asset recovery” too. That is, ECB concedes that the phrase ap-
        plies to more than the nearest reasonable referent.
                ECB’s concession is well taken. By conceding that “for finan-
        cial institutions” cannot apply to only “strategy planning,” ECB rec-
        ognizes that “asset recovery and strategy planning” are parallel
        terms. And no version of the last-antecedent canon or nearest-rea-
        sonable-referent canon applies when the syntax involves “a parallel
        series of nouns or verbs.” Scalia & Garner, supra, at 152. In light of
        its concession, ECB is not really arguing that the last-antecedent
        canon or nearest-reasonable-referent canon solves the interpretive
        problem here. Instead, it is arguing that we should apply a limited
        version of the series-qualifier canon—viewing “asset recovery and
        strategy planning” as a series that is separate from the rest of the
        nouns in the phrase.
               Second, as indicated by ECB’s concession, we are within the
        heartland of the series-qualifier canon. To start, the parts of speech
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        to which the series-qualifier canon applies are present here. “When
        there is a straightforward, parallel construction that involves all
        nouns or verbs in a series, a prepositive or postpositive modifier
        normally applies to the entire series.” Id. at 147. Here, we have a
        parallel construction in a series that is followed by a postpositive
        qualifier—“for financial institutions.” The contract has a list of
        nouns separated only by commas, with no additional words like
        prepositions, articles, or conjunctions within the middle of the list;
        so these terms are in parallel. The parallel nature of the terms links
        them together so that the postpositive modifier “for financial insti-
        tutions” can naturally apply to every item in the list, not just the
        last one or two.
                For its part, ECB argues that “asset recovery and strategy
        planning” should be treated differently than the other items in the
        list because there is no comma between “asset recovery” and “and
        strategy planning” or between “strategy planning” and “for finan-
        cial institutions.” We aren’t convinced.
                Certainly, the presence of a comma before “for financial in-
        stitutions” would establish with more certainty that it applies
        across every term in the list. See, e.g., Facebook, Inc., 592 U.S. at 403–
        04 (recognizing that the presence of a comma suggests a phrase ap-
        plies across all terms); Gudgeon, 342 A.2d at 555–56 (“Where a
        comma is used to set a modifying phrase off from previous phrases,
        the modifying phrase applies to all the previous phrases, not just
        the immediately preceding phrase.”); Morella, 917 A.2d at 831
        (“[T]he use of a ‘comma’ to separate a modifier from an antecedent
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        phrase indicates an intent to apply the modifier to all previous an-
        tecedent phrases.” (citations omitted)). But the absence of the
        comma doesn’t necessarily mean that “for financial institutions”
        fails to apply to every term. Although “commas at the end of series
        can avoid ambiguity, . . . [the] use of such commas is discretion-
        ary.” United States v. Bass, 404 U.S. 336, 340 n.6 (1971) (citing Bergen
        Evans & Cornelia Evans, A Dictionary of Contemporary American Us-
        age 103 (1957); Margaret Nicholson, A Dictionary of American-English
        Usage 94 (1957); Roy H. Copperud, A Dictionary of Usage and Style
        94–95 (1964); William Strunk & E.B. White, The Elements of Style 1–
        2 (1959)).
               Likewise, we can’t discern any meaning in the absence of a
        comma between “asset recovery” and “and strategy planning.”
        The comma before “asset recovery” is simply a serial comma, like
        all the other commas in the phrase. The last serial comma that
        should go between “asset recovery” and “and strategy planning”—
        a so-called Oxford comma—is often dropped at the end of a list.
        There isn’t any ambiguity about whether the “and” before “strat-
        egy planning” indicates that “strategy planning” closes the list—it
        does. So there’s no reason to believe that New Jersey courts would
        import meaning into the absence of an Oxford comma in this sen-
        tence. See Perez v. Zagami, LLC, 94 A.3d 869, 874 (N.J. 2014) (“Alt-
        hough not to be entirely ignored, punctuation cannot be allowed
        to control the meaning of the words chosen to voice the intention.”
        (quoting Casriel v. King, 65 A.2d 514, 516 (N.J. 1949))).
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                Third, in addition to these canons, Chubb’s reading is more
        consistent with the surrounding language. Recall that the insur-
        ance policy covers liability arising out of “[m]anagement consult-
        ing services.” Then, the contract defines “[m]anagement consult-
        ing services [to] mean[] services directed toward expertise in bank-
        ing finance, accounting, risk and systems analysis, design and im-
        plementation, asset recovery and strategy planning for financial in-
        stitutions.”
               ECB’s reading does violence to the overall text in two key
        respects. To begin, if “for financial institutions” doesn’t apply to
        “accounting,” then it doesn’t really limit anything at all. All con-
        sulting about asset recovery or strategy planning would presuma-
        bly reflect at least some “expertise in . . . accounting.” Because any
        consulting service that would be provided to a business could re-
        flect expertise in “accounting,” ECB’s reading would defeat the
        purpose of having a “financial institutions” limitation on any of the
        terms. Moreover, if “for financial institutions” didn’t apply to the
        whole list, certain consulting services like “banking finance,” “asset
        recovery . . . for financial institutions,” and “strategy planning for
        financial institutions” would be bounded by a relationship to fi-
        nance and banks—but other services like “accounting” would be
        completely unrelated to the industry of the firm’s client. Con-
        versely, applying “for financial institutions” to all the terms gives
        meaning to the “for financial institutions” limitation and makes
        sense when the phrases are viewed together as a group.
                                        ***
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               Chubb’s view is far more likely to reflect the meeting of the
        minds. Because applying “for financial institutions” across all terms
        is consistent with the general rule of the series-qualifier canon—
        which grammatically applies best here—and makes far more sense
        in context, that is the plain meaning of the contract’s language.
        “The two possible readings thus reduce to one . . . .” Pulsifer v.
        United States, 144 S. Ct. 718, 737 (2024).
                                          B.

                In response to this reasoning, ECB argues that this contract
        is ambiguous and that it should, therefore, win under the contra
        proferentem canon. The contra proferentem canon provides that
        courts should read an ambiguous contract to have the meaning
        that favors the non-drafting party. See Oxford Realty Grp. Cedar, 160
        A.3d at 1270. When an insurance company drafts an insurance con-
        tract, the contra proferentem canon requires resolving ambiguities in
        an insurance contract in favor of the insured. See id.
               Although the contra proferentem canon is a well-established
        part of New Jersey law, it doesn’t help ECB for two reasons.
                First, this contract is not genuinely ambiguous. See Pacifico
        v. Pacifico, 920 A.2d 73, 78 (N.J. 2007). Under New Jersey law, “only
        genuine interpretational difficulties will implicate the doctrine that
        requires ambiguities to be construed favorably to the insured.” Pro-
        gressive Cas. Ins. Co., 765 A.2d at 202 (citing Am. White Cross Lab’ys,
        Inc. v. Cont’l Ins. Co., 495 A.2d 152, 157 (N.J. Super. Ct. App. Div.
        1985)). “A ‘genuine ambiguity’ arises only ‘where the phrasing of
        the policy is so confusing that the average policyholder cannot
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        make out the boundaries of coverage.’” Id. (quoting Weedo v. Stone-
        E-Brick, Inc., 405 A.2d 788, 795 (N.J. 1979)). Some difficulty in deter-
        mining the answer to a legal question does not equate to ambigu-
        ity. See Kisor v. Wilkie, 588 U.S. 558, 574–75 (2019).
               ECB argues, and it is true, that some New Jersey precedents
        say that “[i]f the terms of the contract are susceptible to at least
        two reasonable alternative interpretations, an ambiguity exists.”
        Chubb Custom Ins. Co., 948 A.2d at 1289 (citing Nester v. O’Donnell,
        693 A.2d 1214, 1220 (N.J. Super. Ct. App. Div. 1997)). But there are
        not two reasonable alternative interpretations of this contract lan-
        guage. As the Supreme Court of New Jersey has recognized, “[a]n
        insurance policy is not ambiguous merely because two conﬂicting
        interpretations of it are suggested by the litigants.” Oxford Realty
        Grp. Cedar, 160 A.3d at 1270 (internal quotation marks omitted)
        (quoting Fed. Ins. Co. v. Campbell Soup Co., 885 A.2d 465, 468 (N.J.
        Super. Ct. App. Div. 2005)). Instead, as we’ve explained, one reading
        of this contract is superior to the other.
                In short, we do not jump straight to contra proferentem if we
        can determine the contract’s meaning without it. A court may ap-
        ply that canon only “after a court has examined the terms of the
        contract, in light of the common usage and custom, and considered
        the circumstances surrounding its execution.” Pacifico, 920 A.2d at
        78. Only “[i]f, at that time, the court is unable to determine the
        meaning of the term, [may] contra proferentem [] be employed as a
        doctrine of last resort.” Id. (emphasis added). Because we can read-
        ily interpret this contract in light of its text, there is no genuine
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        interpretational difficulty, and we need not and cannot turn to con-
        tra proferentem.
                Second, even if there were a genuine interpretational dis-
        pute such that the contra proferentem canon could apply to this con-
        tractual text, it would not apply to an insurance contract between
        these sophisticated commercial entities. The Supreme Court of
        New Jersey has held that “the rules tending to favor an insured that
        has entered into a contract of adhesion are inapplicable where, as
        here, both parties are sophisticated commercial entities with equal
        bargaining power.” Chubb Custom Ins. Co., 948 A.2d at 1294 (citing
        Pacifico, 920 A.2d at 78–79) (stating that New Jersey case law “re-
        quir[es] unequal bargaining power for application of contra
        proferentem” (citing Pacifico, 920 A.2d at 78–79)); see also Oxford Re-
        alty Grp. Cedar, 160 A.3d at 1270 (“Sophisticated commercial in-
        sureds, however, do not receive the benefit of having contractual
        ambiguities construed against the insurer.” (citing Chubb Custom
        Ins. Co., 948 A.2d at 1294; Werner Indus., Inc. v. First State Ins. Co.,
        548 A.2d 188, 192 (N.J. 1988))).
               We have no doubt that Constantin—the accounting firm in-
        sured under this contract—is a sophisticated commercial entity
        that had many different options to purchase liability insurance. It
        may be, as ECB argues, that the former New Jersey branch of Con-
        stantin was a relatively small office with few employees, but size
        does not necessarily equate to a lack of commercial sophistication.
        Even that smaller office was composed of accounting professionals,
        and those professionals specifically asked for an insurance policy
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        that would cover risks arising from “management consulting for
        the financial community.” Because Constantin was offering its ser-
        vices and expertise to help its clients manage risk, it stands to rea-
        son that it was sophisticated enough to manage its own.
                                         IV.

                We AFFIRM the district court’s grant of summary judg-
        ment.
